Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF KANSAS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Emporia Property Group, LLC

2.   All other names debtor
     used in the last 8 years     FDBA Avaste Hotel Suites & Conference Center
     Include any assumed          FDBA Knights Inn, Emporia, KS
     names, trade names and       DBA Franchisee of Clarion Inn and Conference Center
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2700 W. 18th Avenue
                                  Emporia, KS 66801
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Lyon                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       7211


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




                                    Case 19-22155               Doc# 1        Filed 10/08/19           Page 1 of 116
Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
Debtor    Emporia Property Group, LLC                                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




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Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
Debtor   Emporia Property Group, LLC                                                               Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




                                    Case 19-22155                Doc# 1         Filed 10/08/19            Page 3 of 116
Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
Debtor    Emporia Property Group, LLC                                                              Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 23, 2019
                                                  MM / DD / YYYY


                             X   /s/ Lee Jones                                                            Lee Jones
                                 Signature of authorized representative of debtor                         Printed name

                                         Authorized Signer for Emporia Property
                                 Title   Group, LLC




18. Signature of attorney    X   /s/ Colin Gotham                                                          Date September 23, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Colin Gotham KS#19538; MO#52343
                                 Printed name

                                 Evans & Mullinix, P.A.
                                 Firm name

                                 7225 Renner Road, Suite 200
                                 Shawnee, KS 66217
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (913) 962-8700                Email address      cgotham@emlawkc.com

                                 KS#19538; MO#52343 KS
                                 Bar number and State




                                    Case 19-22155               Doc# 1         Filed 10/08/19             Page 4 of 116
Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
 Fill in this information to identify the case:
 Debtor name Emporia Property Group, LLC
 United States Bankruptcy Court for the: DISTRICT OF KANSAS                                                                                           Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 David Bon                                                       Promissory Note                                                                                        $200,000.00
 14501 E. Crestline Dr
 Aptl 203
 Aurora, CO 80015
 Dennis Winson                                                   Promissory Note                                                                                        $160,000.00
 9405 Blackwell Road,
 Unit 411
 Rockville, MD 20850
 Debra Bassett                                                   Promissory Note                                                                                        $150,000.00
 9292 SW County
 Road 14
 Madison, FL 32340
 Terry Osborne                                                   Promissory Note                                                                                        $125,000.00
 1631 Kent Church
 Road
 Brooklyn, IA 52211
 Michael Phillips                                                Promissory Note                                                                                        $110,000.00
 2278 Washington
 Drive
 Northbrook, IL 60062
 Mark V. Kelley                                                  Promissory Note                                                                                        $100,000.00
 3513A Stanolind
 Avenue
 Midland, TX 79707
 Brenda Evans                                                    Promissory Note                                                                                          $92,000.00
 716 Jamestown Ln
 Gardendale, AL
 35071
 Rossanna                                                        Promissory Note                                                                                          $90,000.00
 Macdougall
 4884 Doyle Road
 San Jose, CA 95129
 Azure Rock LLC                                                  Promissory Note                                                                                          $85,000.00
 7445 'Ohara Street
 Huntersville, NC
 28078



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                            Case 19-22155                Doc# 1          Filed 10/08/19               Page 5 of 116
 Debtor    Emporia Property Group, LLC                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 David Norton                                                    Promissory Note                                                                                          $55,000.00
 323 Mason Glen
 Drive
 Lake Saint Louis, MO
 63367
 Forrest Larue                                                   Promissory Note                                                                                          $50,000.00
 1069 African Eagle
 Ave
 Henderson, NV
 89015
 James Sargent                                                   Promissory Note                                                                                          $43,000.00
 1260 Military West
 Benicia, CA 94510
 Tracy Bridges                                                   Promissory Note                                                                                          $41,000.00
 164 Knotty Oak Road
 Coventry, RI 02816
 Celine L Agostini                                               Promissory Note                                                                                          $40,000.00
 20011 Cutler Court
 Cutler Bay, FL 33189
 JoAnn Hill                                                      Promissory Note                                                                                          $39,000.00
 91 Shaw Dr.
 Esudilla Bonita Acres
 Quemado, NM 87829
 Gene Parker                                                     Promissory Note                                                                                          $38,500.00
 206 E Paso Fino Way
 Queen Creek, AZ
 85143
 Patricia L Byrd                                                 Promissory Note                                                                                          $35,000.00
 749 Deer Lick Road
 Lewisburg, KY 42256
 Anne Ciota                                                      Promissory Note                                                                                          $33,000.00
 93A Ayer Rd
 Harvard, MA 01451
 Lee Childers                                                    Promissory Note                                                                                          $30,000.00
 317 Copperhead
 Lane
 Alvarado, TX 76009
 Catherine Osborn                                                Promissory Note                                                                                          $25,000.00
 8334 State Road
 Colden, NY 14033




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                                            Case 19-22155                Doc# 1          Filed 10/08/19               Page 6 of 116
 Fill in this information to identify the case:

 Debtor name         Emporia Property Group, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                $600.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                                                                            Checking/Savings
           3.1.     Emporia State Federal Credit Union                      combined                        4085                                    $23,819.75




           3.2.     JP Morgan Chase                                         Checking                        3329                                       $100.00



 4.        Other cash equivalents (Identify all)


           4.1.     Credit card batch settlement clearing the deposit process                                                                       $19,053.00




           4.2.     Bank deposits made in process of settlement                                                                                        $717.00




 5.        Total of Part 1.                                                                                                                     $44,289.75
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                                       Case 19-22155                 Doc# 1      Filed 10/08/19       Page 7 of 116
 Debtor           Emporia Property Group, LLC                                                        Case number (If known)
                  Name


        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Westar Energy                                                                                                                 $8,128.91



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Commercial Insurance Solutions                                                                                                $6,251.95




           8.2.     Allen & O'Hara Developement                                                                                                   $2,470.51




 9.        Total of Part 2.                                                                                                                 $16,851.37
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                 5,000.00   -                                   0.00 = ....                   $5,000.00
                                              face amount                              doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                   $5,000.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last              Net book value of         Valuation method used   Current value of
                                                      physical inventory            debtor's interest         for current value       debtor's interest
                                                                                    (Where available)

 19.       Raw materials
           Food & Beverage
           inventory                                  6/31/19                                      $0.00      Recent cost                         $8,000.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                         page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
                                       Case 19-22155                    Doc# 1        Filed 10/08/19           Page 8 of 116
 Debtor         Emporia Property Group, LLC                                                      Case number (If known)
                Name




 20.       Work in progress

 21.       Finished goods, including goods held for resale
           Convenience store goods
           held for resale                            N/A                                      $0.00    Mgmt Estimate                       $1,000.00



 22.       Other inventory or supplies
           Misc. guest supplies,
           soaps, shampoos, laundry
           detergent                                  N/A                                      $0.00    Mgmt Estimate                       $5,000.00




 23.       Total of Part 5.                                                                                                           $14,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used   Current value of
                                                                                 debtor's interest      for current value       debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           Office furniture, fixtures and equipment and
           furniture for hotel and banquet facility - see
           attached                                                                            $0.00                                         Unknown



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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                                       Case 19-22155                   Doc# 1       Filed 10/08/19        Page 9 of 116
 Debtor         Emporia Property Group, LLC                                                   Case number (If known)
                Name



 43.       Total of Part 7.                                                                                                                      $0.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Exterior pylon sign cabinet with LED illumination                                $0.00                                          Unknown


           80' Pylon sign with cabinet with LED illumination                                $0.00                                       $18,961.50



 51.       Total of Part 8.                                                                                                          $18,961.50
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
                                      Case 19-22155                  Doc# 1     Filed 10/08/19        Page 10 of 116
 Debtor         Emporia Property Group, LLC                                                   Case number (If known)
                Name

            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. 2700 W. 18th Avenue,
                     Emporia, KS 66091
                     3.3 acres
                     Net book value is
                     ($3,154,600)                         Fee simple                        $0.00      Appraisal                      $3,050,000.00




 56.        Total of Part 9.                                                                                                       $3,050,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used   Current value of
                                                                              debtor's interest        for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            emporiaclarion.com                                                              $0.00      Mgmt Estimate                             $0.00



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Customer list                                                                   $0.00      Mgmt Estimate                             $0.00



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                 $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 5
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                                      Case 19-22155                  Doc# 1     Filed 10/08/19         Page 11 of 116
 Debtor         Emporia Property Group, LLC                                                  Case number (If known)
                Name


               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                      Current value of
                                                                                                                      debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
            Claim against Diamond D Innovation, general contractor, for
            absconding with funds to be used for HVAC project                                                                   $87,545.50
            Nature of claim          Mechanic's Lien Idemnity
            Amount requested                              $0.00



 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                 $87,545.50
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                         page 6
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                                      Case 19-22155                  Doc# 1     Filed 10/08/19       Page 12 of 116
 Debtor          Emporia Property Group, LLC                                                                         Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $44,289.75

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $16,851.37

 82. Accounts receivable. Copy line 12, Part 3.                                                                       $5,000.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $14,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $18,961.50

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $3,050,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                  $87,545.50

 91. Total. Add lines 80 through 90 for each column                                                            $186,648.12           + 91b.            $3,050,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $3,236,648.12




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 7
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
                                         Case 19-22155                       Doc# 1             Filed 10/08/19                   Page 13 of 116
 Fill in this information to identify the case:

 Debtor name         Emporia Property Group, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                       Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                   Amount of claim             Value of collateral
                                                                                                                                                   that supports this
                                                                                                                       Do not deduct the value     claim
                                                                                                                       of collateral.
 2.1   Alan M. Nolan                                  Describe debtor's property that is subject to a lien                      $25,000.00            $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       4135 High Prairie Road                         Net book value is ($3,154,600)
       Valley Mills, TX 76689
       Creditor's mailing address                     Describe the lien
                                                      Second Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. Marilyn Golden
       2. Lorretta Miller
       3. Lynn Wiese
       4. Eva Childress
       5. Marta Romano
       6. Pamela Banderman
       7. David L Moerke
       8. Susan Danielson
       9. Arleen Espiritu
       10. Judyth Kaplan - Levitt
       11. Tammie Tipton
       12. Janet D Niederman
       13. Steven Rothman
       14. Joan Walker
       15. James Vail
       16. Lyn Adams
       17. Patricia

 2.2   Amanda Day                                     Describe debtor's property that is subject to a lien                      $55,000.00            $3,050,000.00



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 55
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                                        Case 19-22155                   Doc# 1         Filed 10/08/19               Page 14 of 116
 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       14 Liberty Ln #75                              Net book value is ($3,154,600)
       South Portland, ME 04106
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3   Andrea Brooks-Tucker                           Describe debtor's property that is subject to a lien                     $12,300.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       3367 John Hancock Drive                        Net book value is ($3,154,600)
       Tallahassee, FL 32312
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.4   Andrew Soon-Foong                              Describe debtor's property that is subject to a lien                     $58,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       45 SW 21st Rd                                  Net book value is ($3,154,600)
       Miami, FL 33129
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 2 of 55
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
                                        Case 19-22155                   Doc# 1         Filed 10/08/19               Page 15 of 116
 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5   Arleen Espiritu                                Describe debtor's property that is subject to a lien                     $30,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       19W736 13th Place                              Net book value is ($3,154,600)
       Lombard, IL 60148
       Creditor's mailing address                     Describe the lien
                                                      First Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. Marilyn Golden
       2. Lorretta Miller
       3. Lynn Wiese
       4. Eva Childress
       5. Marta Romano
       6. Pamela Banderman
       7. David L Moerke
       8. Susan Danielson
       9. Arleen Espiritu
       10. Judyth Kaplan - Levitt
       11. Tammie Tipton
       12. Janet D Niederman
       13. Steven Rothman
       14. Joan Walker
       15. James Vail
       16. Lyn Adams
       17. Patricia

 2.6   Arlene Kendig                                  Describe debtor's property that is subject to a lien                      $9,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       7445 O'Hara Street                             Net book value is ($3,154,600)
       Huntersville, NC 28078
       Creditor's mailing address                     Describe the lien
                                                      Third Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 3 of 55
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
                                        Case 19-22155                   Doc# 1         Filed 10/08/19               Page 16 of 116
 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.7   Athena Mills                                   Describe debtor's property that is subject to a lien                     $41,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       5788 Knoll Crest Court                         Net book value is ($3,154,600)
       Boulder, CO 80301
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.8   Azure Rock LLC                                 Describe debtor's property that is subject to a lien                     $13,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       7445 O'Hara Street                             Net book value is ($3,154,600)
       Huntersville, NC 28078
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.9   Barbara Benjamin                               Describe debtor's property that is subject to a lien                     $26,500.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       100 Alden Street #322                          Net book value is ($3,154,600)
       Provincetown, MA 02657
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 4 of 55
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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 0     Barbara Wilson                                 Describe debtor's property that is subject to a lien                     $200,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       20201 Runnymede Street                         Net book value is ($3,154,600)
       Winnetka, CA 91306
       Creditor's mailing address                     Describe the lien
                                                      First Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.1
 1     Bradley Childers                               Describe debtor's property that is subject to a lien                      $10,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       19231 N Miller Way                             Net book value is ($3,154,600)
       Maricopa, AZ 85139
       Creditor's mailing address                     Describe the lien
                                                      Third Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 5 of 55
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                                        Case 19-22155                   Doc# 1         Filed 10/08/19               Page 18 of 116
 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

 2.1
 2     Brenda A. Hurley                               Describe debtor's property that is subject to a lien                      $44,500.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       3312 N Arcadia Street                          Net book value is ($3,154,600)
       Colorado Springs, CO 80907
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 3     Bruce Barnes                                   Describe debtor's property that is subject to a lien                     $145,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       13235 SE 261st Street                          Net book value is ($3,154,600)
       Kent, WA 98042
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 4     Celine L Agostini                              Describe debtor's property that is subject to a lien                      $15,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       20011 Cutler Court                             Net book value is ($3,154,600)
       Cutler Bay, FL 33189
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 6 of 55
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                                        Case 19-22155                   Doc# 1         Filed 10/08/19               Page 19 of 116
 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 5     Cheryl Morris                                  Describe debtor's property that is subject to a lien                     $8,700.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       2234 W. Taylor St. Apt. 3F                     Net book value is ($3,154,600)
       Chicago, IL 60612
       Creditor's mailing address                     Describe the lien
                                                      Third Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.1
 6     Cheryl Morris                                  Describe debtor's property that is subject to a lien                     $6,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       2234 W. Taylor St. Apt. 3F                     Net book value is ($3,154,600)
       Chicago, IL 60612
       Creditor's mailing address                     Describe the lien
                                                      Third Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.1
 7     Christina N Norton                             Describe debtor's property that is subject to a lien                     $7,200.00   $3,050,000.00




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 7 of 55
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                                        Case 19-22155                   Doc# 1         Filed 10/08/19               Page 20 of 116
 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       12 Westgate Lane                               Net book value is ($3,154,600)
       Troy, MO 63379
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 8     Constance Barnes                               Describe debtor's property that is subject to a lien                     $22,500.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       5632 Crestwood Court                           Net book value is ($3,154,600)
       Frederick, MD 21703
       Creditor's mailing address                     Describe the lien
                                                      Third Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.1
 9     Dan P. Kelly                                   Describe debtor's property that is subject to a lien                     $27,500.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       1050 Maple St #1903                            Net book value is ($3,154,600)
       Wenatchee, WA 98807
       Creditor's mailing address                     Describe the lien
                                                      Second Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 8 of 55
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                                        Case 19-22155                   Doc# 1         Filed 10/08/19               Page 21 of 116
 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.2
 0     Darrell Fannin                                 Describe debtor's property that is subject to a lien                     $25,400.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       1285 Campbell Lane                             Net book value is ($3,154,600)
       Hoffman Estates, IL 60169
       Creditor's mailing address                     Describe the lien
                                                      Third Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.2
 1     David Flores                                   Describe debtor's property that is subject to a lien                     $29,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       9402 Claridge Drive                            Net book value is ($3,154,600)
       Houston, TX 77031
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2
 2     David L Moerke                                 Describe debtor's property that is subject to a lien                     $39,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       3960 S Lipton Ave                              Net book value is ($3,154,600)
       Saint Francis, WI 53235


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 9 of 55
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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

       Creditor's mailing address                     Describe the lien
                                                      First Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.2
 3     David Norton                                   Describe debtor's property that is subject to a lien                      $7,200.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       323 Mason Glen Drive                           Net book value is ($3,154,600)
       Lake Saint Louis, MO 63367
       Creditor's mailing address                     Describe the lien
                                                      Third Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.2
 4     Dolores Kienzle                                Describe debtor's property that is subject to a lien                     $50,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       104 Kensington Place                           Net book value is ($3,154,600)
       Saint Charles, IL 60175
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 10 of 55
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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2
 5     Donald Melfe                                   Describe debtor's property that is subject to a lien                     $50,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       44 Taft Avenue                                 Net book value is ($3,154,600)
       Newburgh, NY 12550
       Creditor's mailing address                     Describe the lien
                                                      Second Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.2
 6     Edward J. Stevens                              Describe debtor's property that is subject to a lien                     $36,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       14181 E. Baltic Place                          Net book value is ($3,154,600)
       Aurora, CO 80014
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2
 7     Edward Nelson                                  Describe debtor's property that is subject to a lien                     $10,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       1008 Santa Helena Avenue                       Net book value is ($3,154,600)
       Henderson, NV 89002
       Creditor's mailing address                     Describe the lien
                                                      Third Mortgage

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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.2
 8     Eileen McKenna                                 Describe debtor's property that is subject to a lien                     $110,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       30 B Street                                    Net book value is ($3,154,600)
       Saint Paul, MN 55106
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2
 9     Elaine Russell                                 Describe debtor's property that is subject to a lien                      $14,500.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       54 Stockton Place                              Net book value is ($3,154,600)
       East Orange, NJ 07017
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3
 0     Erika Madeiros                                 Describe debtor's property that is subject to a lien                     $40,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
       33 High Street                                 3.3 acres
       North Attleborough, MA                         Net book value is ($3,154,600)
       01701
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3
 1     Eva Childress                                  Describe debtor's property that is subject to a lien                     $57,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       5049 Silver Lake Drive                         Net book value is ($3,154,600)
       Plano, TX 75093
       Creditor's mailing address                     Describe the lien
                                                      First Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.3
 2     Gail A. Christensen                            Describe debtor's property that is subject to a lien                     $37,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       1017 S 22nd Street                             Net book value is ($3,154,600)
       Omaha, NE 68108
       Creditor's mailing address                     Describe the lien
                                                      Second Mortgage

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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.3
 3     Gavin Monaghan                                 Describe debtor's property that is subject to a lien                     $40,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       290 Bostock Road                               Net book value is ($3,154,600)
       Shokan, NY 12481
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3
 4     George Tuhowski iii                            Describe debtor's property that is subject to a lien                     $96,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       745 Suffolk Court                              Net book value is ($3,154,600)
       Hoffman Estates, IL 60192
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3
 5     James Estep                                    Describe debtor's property that is subject to a lien                     $12,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       P.O Box 54                                     Net book value is ($3,154,600)
       Black Diamond, WA 98010
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3
 6     James Preslar                                  Describe debtor's property that is subject to a lien                     $21,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
       19666 Blossom Ln                               3.3 acres
       Grosse Pointe Woods, MI                        Net book value is ($3,154,600)
       48236
       Creditor's mailing address                     Describe the lien
                                                      Third Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.3
 7     James Preslar                                  Describe debtor's property that is subject to a lien                     $11,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
       19666 Blossom Ln                               3.3 acres
       Grosse Pointe Woods, MI                        Net book value is ($3,154,600)
       48236
       Creditor's mailing address                     Describe the lien
                                                      Mortgage

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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3
 8     James Vail                                     Describe debtor's property that is subject to a lien                     $69,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       57095 Venus Place                              Net book value is ($3,154,600)
       Clark, CO 80428
       Creditor's mailing address                     Describe the lien
                                                      First Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.3
 9     Janet D Niederman                              Describe debtor's property that is subject to a lien                     $17,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       1818 Pelham Avenue #306                        Net book value is ($3,154,600)
       Los Angeles, CA 90025
       Creditor's mailing address                     Describe the lien
                                                      First Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.4
 0     Jeff Naramor                                   Describe debtor's property that is subject to a lien                      $12,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       914 Wooded Lane                                Net book value is ($3,154,600)
       Marshall, MI 49068
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.4
 1     Joan Walker                                    Describe debtor's property that is subject to a lien                     $150,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       6719 Bruce Road                                Net book value is ($3,154,600)
       Celina, OH 45822
       Creditor's mailing address                     Describe the lien
                                                      First Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.4
 2     John Barry Gipson                              Describe debtor's property that is subject to a lien                      $66,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       1848 County Road 928                           Net book value is ($3,154,600)
       Brookland, AR 72417
       Creditor's mailing address                     Describe the lien
                                                      Second Mortgage

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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.4
 3     John Emde                                      Describe debtor's property that is subject to a lien                     $35,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       261 Raintree Rd                                Net book value is ($3,154,600)
       Virginia Beach, VA 23452
       Creditor's mailing address                     Describe the lien
                                                      Thrid Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.4
 4     John Schremp                                   Describe debtor's property that is subject to a lien                     $32,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       3536 Muller Drive                              Net book value is ($3,154,600)
       Zephyr Hills, FL 33540
       Creditor's mailing address                     Describe the lien
                                                      Second Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.4
 5     Jon J Hoke                                     Describe debtor's property that is subject to a lien                     $12,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       12931 S. Stubbs Rd                             Net book value is ($3,154,600)
       Overbrook, KS 66524
       Creditor's mailing address                     Describe the lien
                                                      Third Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.4
 6     Jose Adorno-Garay                              Describe debtor's property that is subject to a lien                     $30,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       2550 Grand Lakeside Dr                         Net book value is ($3,154,600)
       Palm Harbor, FL 34684
       Creditor's mailing address                     Describe the lien
                                                      Second Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.4
 7     Jose Adorno-Garay                              Describe debtor's property that is subject to a lien                     $20,700.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       2550 Grand Lakeside Dr                         Net book value is ($3,154,600)
       Palm Harbor, FL 34684
       Creditor's mailing address                     Describe the lien
                                                      Third Mortgage

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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.4
 8     Judith A McIntosh                              Describe debtor's property that is subject to a lien                      $7,500.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       9300 Coit Rd Apt 1214                          Net book value is ($3,154,600)
       Plano, TX 75025
       Creditor's mailing address                     Describe the lien
                                                      Third Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.4
 9     Judyth Kaplan - Levitt                         Describe debtor's property that is subject to a lien                     $23,500.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       43 Higgins Rd                                  Net book value is ($3,154,600)
       Framingham, MA 01701
       Creditor's mailing address                     Describe the lien
                                                      First Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.5
 0     Julie A Handberg                               Describe debtor's property that is subject to a lien                     $54,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       6075 Lincoln Drive #306                        Net book value is ($3,154,600)
       Minneapolis, MN 55436
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5
 1     Julie A. Speed                                 Describe debtor's property that is subject to a lien                     $36,500.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       2605 278th Street E                            Net book value is ($3,154,600)
       Spanaway, WA 98387
       Creditor's mailing address                     Describe the lien
                                                      Second Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.5
 2     Julie Frank                                    Describe debtor's property that is subject to a lien                     $30,100.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       11863 W. 56th Circle                           Net book value is ($3,154,600)
       Arvada, CO 80002
       Creditor's mailing address                     Describe the lien
                                                      Third Mortgage

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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.5
 3     Julio Henao                                    Describe debtor's property that is subject to a lien                     $123,050.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
       1127 Eldridge Parkway                          3.3 acres
       Ste 300-116                                    Net book value is ($3,154,600)
       Houston, TX 77077
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5
 4     Karen Rinker                                   Describe debtor's property that is subject to a lien                       $8,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       PO Box 95                                      Net book value is ($3,154,600)
       Page, AZ 86040
       Creditor's mailing address                     Describe the lien
                                                      Third Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.5
 5     Kenneth Miller                                 Describe debtor's property that is subject to a lien                     $51,500.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       6650 S. Beach Drive                            Net book value is ($3,154,600)
       Alanson, MI 49706
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5
 6     Kenneth Thall                                  Describe debtor's property that is subject to a lien                     $10,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       777 S. Federal Hwy # G215                      Net book value is ($3,154,600)
       Pompano Beach, FL 33062
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5
 7     Kevin Landry                                   Describe debtor's property that is subject to a lien                     $42,400.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       8485 Westwind Rd                               Net book value is ($3,154,600)
       Las Vegas, NV 89139
       Creditor's mailing address                     Describe the lien
                                                      Mortgage

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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5
 8     Kim Peterson                                   Describe debtor's property that is subject to a lien                     $10,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       20 5th St NW #101                              Net book value is ($3,154,600)
       Waukon, IA 52172
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5
 9     Kristen Mowafy                                 Describe debtor's property that is subject to a lien                     $57,500.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       1204 Ortman Road                               Net book value is ($3,154,600)
       Marquette, MI 49855
       Creditor's mailing address                     Describe the lien
                                                      First Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.6
 0     Laurie A Malone                                Describe debtor's property that is subject to a lien                     $100,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       1825 Windsor Blvd                              Net book value is ($3,154,600)
       Homewood, AL 35209
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.6
 1     Lee Childers                                   Describe debtor's property that is subject to a lien                      $20,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       317 Copperhead Lane                            Net book value is ($3,154,600)
       Alvarado, TX 76009
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.6
 2     Lenore Matley                                  Describe debtor's property that is subject to a lien                      $27,500.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       76 N Manila Avenue                             Net book value is ($3,154,600)
       Clovis, CA 93612
       Creditor's mailing address                     Describe the lien
                                                      First Mortgage

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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.6
 3     Lorretta Miller                                Describe debtor's property that is subject to a lien                     $27,500.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       602 avon st                                    Net book value is ($3,154,600)
       Flint, MI 48503
       Creditor's mailing address                     Describe the lien
                                                      First Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.6
 4     Lyn Adams                                      Describe debtor's property that is subject to a lien                     $28,500.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       492 Big Sky Drive                              Net book value is ($3,154,600)
       Oceanside, CA 92058
       Creditor's mailing address                     Describe the lien
                                                      First Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.6
 5     Lynn Wiese                                     Describe debtor's property that is subject to a lien                      $70,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       40680 N 3985 Road                              Net book value is ($3,154,600)
       Collinsville, OK 74021
       Creditor's mailing address                     Describe the lien
                                                      First Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.6
 6     Maria D Herring                                Describe debtor's property that is subject to a lien                       $7,500.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       1605 Abaco Drive Apt D3                        Net book value is ($3,154,600)
       Coconut Creek, FL 33066
       Creditor's mailing address                     Describe the lien
                                                      Third Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.6
 7     Marilyn Golden                                 Describe debtor's property that is subject to a lien                     $209,300.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       3821 Zinnia Rd                                 Net book value is ($3,154,600)
       Diana, TX 75640
       Creditor's mailing address                     Describe the lien
                                                      First Mortgage

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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.6
 8     Marjory Meyer                                  Describe debtor's property that is subject to a lien                     $11,500.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       119 13th Avenue NE                             Net book value is ($3,154,600)
       Oelwein, IA 52001
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.6
 9     Marlin Business Bank                           Describe debtor's property that is subject to a lien                     $13,291.44       Unknown
       Creditor's Name                                Exterior pylon sign cabinet with LED illumination
       300 Fellowship Road
       Mount Laurel, NJ 08054
       Creditor's mailing address                     Describe the lien
                                                      Equipment Finance Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       4/1/17                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       5001
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.7
 0     Marta Romano                                   Describe debtor's property that is subject to a lien                     $16,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       2237 La Mark Avenue                            Net book value is ($3,154,600)
       Las Vegas, NV 89106
       Creditor's mailing address                     Describe the lien
                                                      First Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.7
 1     Mary Beth Howard                               Describe debtor's property that is subject to a lien                     $54,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       1409 Bardwell W Road                           Net book value is ($3,154,600)
       Williamsburg, OH 45176
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.7
 2     Mary Eliza Burton                              Describe debtor's property that is subject to a lien                     $18,500.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       17300 Wedgewood Drive                          Net book value is ($3,154,600)
       Lanexa, VA 23089
       Creditor's mailing address                     Describe the lien
                                                      Second Mortgage

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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.7
 3     Mary Gregory                                   Describe debtor's property that is subject to a lien                     $130,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       4470 Putnam Street                             Net book value is ($3,154,600)
       Marianna, FL 32446
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.7
 4     Pamela Banderman                               Describe debtor's property that is subject to a lien                      $20,500.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       5 Nailbender Ln.                               Net book value is ($3,154,600)
       Sullivan, MO 63080
       Creditor's mailing address                     Describe the lien
                                                      First Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.7
 5     Pamela Scherger                                Describe debtor's property that is subject to a lien                     $30,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       116 Grey Mill Court                            Net book value is ($3,154,600)
       Rocky Mountain, NC 27804
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.7
 6     Patricia K DeLuca                              Describe debtor's property that is subject to a lien                     $27,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       3 Stagecoach Rd                                Net book value is ($3,154,600)
       Windsor, CT 06095
       Creditor's mailing address                     Describe the lien
                                                      First Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.7
 7     Patricia W. Wittig                             Describe debtor's property that is subject to a lien                     $35,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       4922 Paradise Lake Circle                      Net book value is ($3,154,600)
       Hoover, AL 35244
       Creditor's mailing address                     Describe the lien
                                                      Mortgage

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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.7
 8     Pawnee Leasing Corporation                     Describe debtor's property that is subject to a lien                     $18,961.50     $18,961.50
       Creditor's Name                                80' Pylon sign with cabinet with LED illumination
       3801 Automation Way
       Ste 207
       Fort Collins, CO 80525
       Creditor's mailing address                     Describe the lien
                                                      Equipment Lease
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       4/20/17                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       4453
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.7
 9     Peggy Schremp                                  Describe debtor's property that is subject to a lien                     $13,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       3536 Muller Drive                              Net book value is ($3,154,600)
       Zephyr Hills, FL 33540
       Creditor's mailing address                     Describe the lien
                                                      Second Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.8
 0     Piping Contractors of Kansas                   Describe debtor's property that is subject to a lien                      $87,545.50   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
       d/b/a PCI Mechanical                           3.3 acres
       Services                                       Net book value is ($3,154,600)
       115 S Jackson
       Topeka, KS 66603
       Creditor's mailing address                     Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.8
 1     Reed Thomas                                    Describe debtor's property that is subject to a lien                      $11,200.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       159 County Rd 233                              Net book value is ($3,154,600)
       Lyman, WY 82937
       Creditor's mailing address                     Describe the lien
                                                      Third Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.8
 2     Reynold Johnson                                Describe debtor's property that is subject to a lien                     $128,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       1415 Millennial Lane                           Net book value is ($3,154,600)
       Lawrenceville, GA 30045
       Creditor's mailing address                     Describe the lien


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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.8
 3     Rhonda Nolda                                   Describe debtor's property that is subject to a lien                     $57,600.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       129 N Elder Ave                                Net book value is ($3,154,600)
       North Platte, NE 69101
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.8
 4     Rick Dixon                                     Describe debtor's property that is subject to a lien                      $8,100.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       1090 Lowell Drive                              Net book value is ($3,154,600)
       Oconomowoc, WI 53066
       Creditor's mailing address                     Describe the lien
                                                      Third Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.8
 5     Robert Carnesi                                 Describe debtor's property that is subject to a lien                      $51,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       14506 Vista Del Lago Blvd                      Net book value is ($3,154,600)
       Winter Garden, FL 34787
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.8
 6     Robert Danforth                                Describe debtor's property that is subject to a lien                      $17,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       9836 Masterpiece Drive                         Net book value is ($3,154,600)
       Las Vegas, NV 89148
       Creditor's mailing address                     Describe the lien
                                                      Third Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.8
 7     Robert L. Smith Jr.                            Describe debtor's property that is subject to a lien                     $100,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       6533 West Ave L10                              Net book value is ($3,154,600)
       Lancaster, CA 93536
       Creditor's mailing address                     Describe the lien
                                                      Mortgage

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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.8
 8     Robert L. Smith Jr.                            Describe debtor's property that is subject to a lien                     $11,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       6533 West Ave L10                              Net book value is ($3,154,600)
       Lancaster, CA 93536
       Creditor's mailing address                     Describe the lien
                                                      Third Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.8
 9     Robin Tadlock                                  Describe debtor's property that is subject to a lien                     $11,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       107 W Holt Street                              Net book value is ($3,154,600)
       Sanger, TX 76266
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.9
 0     Roger Kubischta                                Describe debtor's property that is subject to a lien                     $80,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       1107 Lane Terrace                              Net book value is ($3,154,600)
       The Villages, FL 32163
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.9
 1     Ronald Boswell                                 Describe debtor's property that is subject to a lien                     $66,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       105 Bennington Court                           Net book value is ($3,154,600)
       Charlottesville, VA 22901
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.9
 2     Ronald Srajer                                  Describe debtor's property that is subject to a lien                     $20,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       9850 Garfield Ave Spc 107                      Net book value is ($3,154,600)
       Huntington Beach, CA 92646
       Creditor's mailing address                     Describe the lien
                                                      First Mortgage

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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.9
 3     Rudy Castellanos                               Describe debtor's property that is subject to a lien                     $20,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       4911 Randolph Street                           Net book value is ($3,154,600)
       Maywood, CA 90270
       Creditor's mailing address                     Describe the lien
                                                      First Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.9
 4     Sayeed Patel                                   Describe debtor's property that is subject to a lien                     $11,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       9205 Amber Downs Drive                         Net book value is ($3,154,600)
       McKinney, TX 75070
       Creditor's mailing address                     Describe the lien
                                                      Third Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 38 of 55
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                                        Case 19-22155                   Doc# 1         Filed 10/08/19               Page 51 of 116
 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.9
 5     Scott Telle                                    Describe debtor's property that is subject to a lien                     $72,400.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       1856 Lewisham Way                              Net book value is ($3,154,600)
       Virginia Beach, VA 34945
       Creditor's mailing address                     Describe the lien
                                                      First Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.9
 6     Sheila Heward                                  Describe debtor's property that is subject to a lien                     $11,900.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       37 Kirkpatrick Lane                            Net book value is ($3,154,600)
       Bella Vista, AR 72715
       Creditor's mailing address                     Describe the lien
                                                      Third Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.9
 7     Sherry Bartz                                   Describe debtor's property that is subject to a lien                     $42,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       11695 E. 114th Ave                             Net book value is ($3,154,600)
       Commerce City, CO 80640
       Creditor's mailing address                     Describe the lien
                                                      Mortgage

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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.9
 8     Solid Rock Energy Solutions                    Describe debtor's property that is subject to a lien                     $27,457.20   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
       2250 N Rock Road Ste                           3.3 acres
       118-261                                        Net book value is ($3,154,600)
       Wichita, KS 67226
       Creditor's mailing address                     Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.9
 9     Stephanie Kennedy                              Describe debtor's property that is subject to a lien                     $60,500.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       208 S. Pierce St                               Net book value is ($3,154,600)
       Adams, WI 53910
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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                                        Case 19-22155                   Doc# 1         Filed 10/08/19               Page 53 of 116
 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 00    Stephen Kessman                                Describe debtor's property that is subject to a lien                     $20,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       23 Deer Park Road                              Net book value is ($3,154,600)
       Danbury, CT 12563
       Creditor's mailing address                     Describe the lien
                                                      Third Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.1
 01    Stephen R Lochelt                              Describe debtor's property that is subject to a lien                     $10,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       439 Quail Court                                Net book value is ($3,154,600)
       Fillmore, CA 93015
       Creditor's mailing address                     Describe the lien
                                                      Third Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.1
 02    Steven Rothman                                 Describe debtor's property that is subject to a lien                     $13,500.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       107 Willamette Way                             Net book value is ($3,154,600)
       Dayton, NV 89403
       Creditor's mailing address                     Describe the lien
                                                      First Mortgage

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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.1
 03    Susan Danielson                                Describe debtor's property that is subject to a lien                     $21,800.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       401 Crimson Lane                               Net book value is ($3,154,600)
       Plymouth, IN 46563
       Creditor's mailing address                     Describe the lien
                                                      Third Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.1
 04    Susan Danielson                                Describe debtor's property that is subject to a lien                     $21,500.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       401 Crimson Lane                               Net book value is ($3,154,600)
       Plymouth, IN 46563
       Creditor's mailing address                     Describe the lien
                                                      First Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.1
 05    Suzanne Still                                  Describe debtor's property that is subject to a lien                     $29,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
       1672 LOT 2 COUNTY RD 81                        3.3 acres
       BLUE MOUNTAIN, MS                              Net book value is ($3,154,600)
       38610
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 06    Tammie Tipton                                  Describe debtor's property that is subject to a lien                     $16,800.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
       8760 Ravenglass Way                            3.3 acres
       Montgomery Village, MD                         Net book value is ($3,154,600)
       21075
       Creditor's mailing address                     Describe the lien
                                                      First Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.1
 07    Thomas Roffino                                 Describe debtor's property that is subject to a lien                     $20,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       2811 Poteet Drive                              Net book value is ($3,154,600)
       Mesquite, TX 75150
       Creditor's mailing address                     Describe the lien
                                                      Third Mortgage

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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.1
 08    Timothy Sweeney                                Describe debtor's property that is subject to a lien                      $2,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       8003 Moss Grove Place                          Net book value is ($3,154,600)
       Fort Wayne, IN 46825
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 09    Tony Wallace                                   Describe debtor's property that is subject to a lien                     $17,500.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       8914 Kathlyn Drive                             Net book value is ($3,154,600)
       St. Louis, MO 63134
       Creditor's mailing address                     Describe the lien
                                                      First Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.1
 10    Walter Blumenfeld                              Describe debtor's property that is subject to a lien                      $48,800.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       300 E. 85th St Apt PH3                         Net book value is ($3,154,600)
       New York, NY 10028
       Creditor's mailing address                     Describe the lien
                                                      Second Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.5

 2.1
 11    William Frederickson                           Describe debtor's property that is subject to a lien                      $79,000.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       3415 20th Street Court                         Net book value is ($3,154,600)
       Rock Island, IL 61201
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 12    William Penn                                   Describe debtor's property that is subject to a lien                     $135,700.00   $3,050,000.00
       Creditor's Name                                2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
       2604 Brighton Drive                            Net book value is ($3,154,600)
       Flower Mound, TX 75028
       Creditor's mailing address                     Describe the lien
                                                      Mortgage

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 Debtor       Emporia Property Group, LLC                                                              Case number (if know)
              Name

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.1
 13     Wossenyelesh Million                          Describe debtor's property that is subject to a lien                      $11,000.00       $3,050,000.00
        Creditor's Name                               2700 W. 18th Avenue, Emporia, KS 66091
                                                      3.3 acres
        227 Chestnut Ct.                              Net book value is ($3,154,600)
        San Ramon, CA 94583
        Creditor's mailing address                    Describe the lien
                                                      Third Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.
        Specified on line 2.5

                                                                                                                               $4,557,405.6
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         4

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         American Estate & Trust
         6900 Westcliff Drive                                                                                   Line   2.67
         Ste 603
         Las Vegas, NV 89145

         American Estate & Trust
         6900 Westcliff Drive                                                                                   Line   2.10
         Ste 603
         Las Vegas, NV 89145




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 Debtor       Emporia Property Group, LLC                                                Case number (if know)
              Name

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.41
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.13
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.112
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.73
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.82
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.53
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.87
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.34
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.90
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.111
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.95
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.91
        Ste 603
        Las Vegas, NV 89145




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 Debtor       Emporia Property Group, LLC                                                Case number (if know)
              Name

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.42
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.99
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.4
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.83
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.59
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.32
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.2
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.71
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.50
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.55
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.85
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.25
        Ste 603
        Las Vegas, NV 89145




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 Debtor       Emporia Property Group, LLC                                                Case number (if know)
              Name

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.110
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.12
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.57
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.97
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.7
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.33
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.30
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.51
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.77
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.44
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.52
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.5
        Ste 603
        Las Vegas, NV 89145




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 Debtor       Emporia Property Group, LLC                                                Case number (if know)
              Name

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.21
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.105
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.64
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.19
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.63
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.62
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.1
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.100
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.93
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.72
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.109
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.86
        Ste 603
        Las Vegas, NV 89145




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 Debtor       Emporia Property Group, LLC                                                Case number (if know)
              Name

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.29
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.102
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.79
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.35
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.89
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.88
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.94
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.27
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.56
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.58
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.15
        Ste 603
        Las Vegas, NV 89145

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.16
        Ste 603
        Las Vegas, NV 89145




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 Debtor       Emporia Property Group, LLC                                                Case number (if know)
              Name

        American Estate & Trust
        6900 Westcliff Drive                                                                    Line   2.38
        Ste 603
        Las Vegas, NV 89145

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.28
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.31
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.24
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.22
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.26
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.43
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.75
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.61
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.46
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.76
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.20
        Suite 250
        Las Vegas, NV 89148




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 Debtor       Emporia Property Group, LLC                                                Case number (if know)
              Name

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.49
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.103
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.104
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.47
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.74
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.36
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.107
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.92
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.39
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.106
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.14
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.18
        Suite 250
        Las Vegas, NV 89148




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 Debtor       Emporia Property Group, LLC                                                Case number (if know)
              Name

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.3
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.40
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.45
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.96
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.68
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.81
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.37
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.113
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.11
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.101
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.6
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.84
        Suite 250
        Las Vegas, NV 89148




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property       page 54 of 55
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 Debtor       Emporia Property Group, LLC                                                Case number (if know)
              Name

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.54
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.66
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.48
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.17
        Suite 250
        Las Vegas, NV 89148

        Provident Trust Group
        8880 W Sunset Road                                                                      Line   2.108
        Suite 250
        Las Vegas, NV 89148




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property       page 55 of 55
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                  Best Case Bankruptcy
                                      Case 19-22155                  Doc# 1   Filed 10/08/19      Page 68 of 116
 Fill in this information to identify the case:

 Debtor name         Emporia Property Group, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                     amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                       Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                            $4,773.07         $4,773.07
           Kansas Department of Revenue                              Check all that apply.
           Civil Tax Enforcement                                        Contingent
           PO Box 12005                                                 Unliquidated
           Topeka, KS 66612-2005                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Sales Taxes
           Last 4 digits of account number 2019                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                            $3,809.78         $3,809.78
           Kansas Department of Revenue                              Check all that apply.
           Civil Tax Enforcement                                        Contingent
           PO Box 12005                                                 Unliquidated
           Topeka, KS 66612-2005                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           July 2019                                                 Guest Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 11
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                                      Case 19-22155                     Doc# 1              Filed 10/08/19                   Page 69 of 116
 Debtor       Emporia Property Group, LLC                                                                     Case number (if known)
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $217.62    $217.62
           Kansas Department of Revenue                              Check all that apply.
           Civil Tax Enforcement                                        Contingent
           PO Box 12005                                                 Unliquidated
           Topeka, KS 66612-2005                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           July 2019                                                 Liquor taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $23,635.35      $23,635.35
           Lyon County Kansas                                        Check all that apply.
           430 Commercial St                                            Contingent
           Emporia, KS 66801                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2019                                                      Property taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $15,000.00
           Andrea Crews                                                                Contingent
           3021 NE 104th Terrace                                                       Unliquidated
           Silver Springs, FL 34488                                                    Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Promissory Note
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $33,000.00
           Anne Ciota                                                                  Contingent
           93A Ayer Rd                                                                 Unliquidated
           Harvard, MA 01451                                                           Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Promissory Note
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $15,000.00
           Anthony E Bozzi                                                             Contingent
           12012 Sugarland Valley Dr.                                                  Unliquidated
           Herndon, VA 20170                                                           Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Promissory Note
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 11
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 Debtor       Emporia Property Group, LLC                                                             Case number (if known)
              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,000.00
          Arlene Kendig                                                         Contingent
          7445 O'Hara Street                                                    Unliquidated
          Huntersville, NC 28078                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $85,000.00
          Azure Rock LLC                                                        Contingent
          7445 'Ohara Street                                                    Unliquidated
          Huntersville, NC 28078                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Barbara Benjamin                                                      Contingent
          100 Alden Street #322                                                 Unliquidated
          Provincetown, MA 02657                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Barbara Benjamin &                                                    Contingent
          Susan Deaver                                                          Unliquidated
          100 Alden Street #322                                                 Disputed
          Provincetown, MA 02657
                                                                             Basis for the claim:    Promissory Note
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $92,000.00
          Brenda Evans                                                          Contingent
          716 Jamestown Ln                                                      Unliquidated
          Gardendale, AL 35071                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,000.00
          Carol Proctor                                                         Contingent
          100 Alden Street #322                                                 Unliquidated
          Provincetown, MA 02657                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,000.00
          Catherine Osborn                                                      Contingent
          8334 State Road                                                       Unliquidated
          Colden, NY 14033                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 3 of 11
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 Debtor       Emporia Property Group, LLC                                                             Case number (if known)
              Name

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,000.00
          Celine L Agostini                                                     Contingent
          20011 Cutler Court                                                    Unliquidated
          Cutler Bay, FL 33189                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,019.50
          Choice Hotels International                                           Contingent
          1 Choice Hotels Circle                                                Unliquidated
          Suite 400                                                             Disputed
          Rockville, MD 20850
                                                                             Basis for the claim:    Service fees
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,500.00
          Christa Bourg                                                         Contingent
          9428 Setting Moon Court                                               Unliquidated
          Colorado Springs, CO 80925                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,000.00
          Christina N Norton                                                    Contingent
          12 Westgate Lane                                                      Unliquidated
          Troy, MO 63379                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,000.00
          Constance Barnes                                                      Contingent
          5632 Crestwood Court                                                  Unliquidated
          Frederick, MD 21703                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $258.67
          Courtesy Products                                                     Contingent
          PO Box 840020                                                         Unliquidated
          Kansas City, MO 64184                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,500.00
          Daniel M Anderson                                                     Contingent
          4112 W Southwood Drive                                                Unliquidated
          Franklin, WI 53132                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Emporia Property Group, LLC                                                             Case number (if known)
              Name

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $200,000.00
          David Bon                                                             Contingent
          14501 E. Crestline Dr                                                 Unliquidated
          Aptl 203                                                              Disputed
          Aurora, CO 80015
                                                                             Basis for the claim:    Promissory Note
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $55,000.00
          David Norton                                                          Contingent
          323 Mason Glen Drive                                                  Unliquidated
          Lake Saint Louis, MO 63367                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $150,000.00
          Debra Bassett                                                         Contingent
          9292 SW County Road 14                                                Unliquidated
          Madison, FL 32340                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $160,000.00
          Dennis Winson                                                         Contingent
          9405 Blackwell Road, Unit 411                                         Unliquidated
          Rockville, MD 20850                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Diamond D Innovation                                                  Contingent
          107 Iowa Street                                                       Unliquidated
          Alma, KS 66401
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    For notice purposes only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Forrest Larue                                                         Contingent
          1069 African Eagle Ave                                                Unliquidated
          Henderson, NV 89015                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,000.00
          Gary Kendig                                                           Contingent
          7445 O'Hara Street                                                    Unliquidated
          Huntersville, NC 28078                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 5 of 11
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 Debtor       Emporia Property Group, LLC                                                             Case number (if known)
              Name

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $38,500.00
          Gene Parker                                                           Contingent
          206 E Paso Fino Way                                                   Unliquidated
          Queen Creek, AZ 85143                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $134.00
          Golden Malted                                                         Contingent
          PO Box 129                                                            Unliquidated
          Concordville, PA 19331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Guest Supply                                                          Contingent
          PO Box 6771                                                           Unliquidated
          Somerset, NJ 08875                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,000.00
          James Preslar                                                         Contingent
          19666 Blossom Ln                                                      Unliquidated
          Grosse Pointe Woods, MI 48236                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $43,000.00
          James Sargent                                                         Contingent
          1260 Military West                                                    Unliquidated
          Benicia, CA 94510                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          James Vail                                                            Contingent
          57095 Venus Place                                                     Unliquidated
          Clark, CO 80428                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,000.00
          Jesse Fuentes                                                         Contingent
          2136 Hazlitt Drive                                                    Unliquidated
          Houston, TX 77032                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 6 of 11
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 Debtor       Emporia Property Group, LLC                                                             Case number (if known)
              Name

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $39,000.00
          JoAnn Hill                                                            Contingent
          91 Shaw Dr.                                                           Unliquidated
          Esudilla Bonita Acres                                                 Disputed
          Quemado, NM 87829
                                                                             Basis for the claim:    Promissory Note
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,500.00
          John Dally                                                            Contingent
          129 Oakmont Drive                                                     Unliquidated
          Mays Landing, NJ 08330                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,000.00
          Laurie M Anderson                                                     Contingent
          4112 W Southwood Drive                                                Unliquidated
          Franklin, WI 53132                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,000.00
          Lee Childers                                                          Contingent
          317 Copperhead Lane                                                   Unliquidated
          Alvarado, TX 76009                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,600.00
          Mandy Green                                                           Contingent
          25 N. University Street                                               Unliquidated
          Vermillion, SD 57069                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Mark V. Kelley                                                        Contingent
          3513A Stanolind Avenue                                                Unliquidated
          Midland, TX 79707                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $110,000.00
          Michael Phillips                                                      Contingent
          2278 Washington Drive                                                 Unliquidated
          Northbrook, IL 60062                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 7 of 11
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 Debtor       Emporia Property Group, LLC                                                             Case number (if known)
              Name

 3.39      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $200.00
           Morefield Speicher Bachman                                           Contingent
           11814 W 135th St,                                                    Unliquidated
           Overland Park, KS 66221                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Services
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.40      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $35,000.00
           Patricia L Byrd                                                      Contingent
           749 Deer Lick Road                                                   Unliquidated
           Lewisburg, KY 42256                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.41      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $90,000.00
           Rossanna Macdougall                                                  Contingent
           4884 Doyle Road                                                      Unliquidated
           San Jose, CA 95129                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.42      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $22,000.00
           Steven Hilliard                                                      Contingent
           7 Wales Ct                                                           Unliquidated
           O Fallon, MO 63366                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.43      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $125,000.00
           Terry Osborne                                                        Contingent
           1631 Kent Church Road                                                Unliquidated
           Brooklyn, IA 52211                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.44      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $41,000.00
           Tracy Bridges                                                        Contingent
           164 Knotty Oak Road                                                  Unliquidated
           Coventry, RI 02816                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Promissory Note
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any
 4.1       American Estate & Trust
           6900 Westcliff Drive                                                                       Line     3.21
           Ste 603
                                                                                                             Not listed. Explain
           Las Vegas, NV 89145


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 8 of 11
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 Debtor       Emporia Property Group, LLC                                                         Case number (if known)
              Name

          Name and mailing address                                                               On which line in Part1 or Part 2 is the   Last 4 digits of
                                                                                                 related creditor (if any) listed?         account number, if
                                                                                                                                           any
 4.2      American Estate & Trust
          6900 Westcliff Drive                                                                   Line   3.20
          Ste 603
                                                                                                        Not listed. Explain
          Las Vegas, NV 89145

 4.3      American Estate & Trust
          6900 Westcliff Drive                                                                   Line   3.37
          Ste 603
                                                                                                        Not listed. Explain
          Las Vegas, NV 89145

 4.4      American Estate & Trust
          6900 Westcliff Drive                                                                   Line   3.41
          Ste 603
                                                                                                        Not listed. Explain
          Las Vegas, NV 89145

 4.5      American Estate & Trust
          6900 Westcliff Drive                                                                   Line   3.23
          Ste 603
                                                                                                        Not listed. Explain
          Las Vegas, NV 89145

 4.6      American Estate & Trust
          6900 Westcliff Drive                                                                   Line   3.44
          Ste 603
                                                                                                        Not listed. Explain
          Las Vegas, NV 89145

 4.7      American Estate & Trust
          6900 Westcliff Drive                                                                   Line   3.25
          Ste 603
                                                                                                        Not listed. Explain
          Las Vegas, NV 89145

 4.8      American Estate & Trust
          6900 Westcliff Drive                                                                   Line   3.10
          Ste 603
                                                                                                        Not listed. Explain
          Las Vegas, NV 89145

 4.9      American Estate & Trust
          6900 Westcliff Drive                                                                   Line   3.13
          Ste 603
                                                                                                        Not listed. Explain
          Las Vegas, NV 89145

 4.10     American Estate & Trust
          6900 Westcliff Drive                                                                   Line   3.1
          Ste 603
                                                                                                        Not listed. Explain
          Las Vegas, NV 89145

 4.11     American Estate & Trust
          6900 Westcliff Drive                                                                   Line   3.30
          Ste 603
                                                                                                        Not listed. Explain
          Las Vegas, NV 89145

 4.12     Kansas Department of Revenue
          7600A W. 119th St                                                                      Line   2.1
          Overland Park, KS 66210
                                                                                                        Not listed. Explain

 4.13     Kansas Dept of Administration
          Attn Director of Acct & Report                                                         Line   2.1
          Landon State Ofc Bldg Rm 351S
                                                                                                        Not listed. Explain
          900 SW Jackson
          Topeka, KS 66612



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 9 of 11
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 Debtor       Emporia Property Group, LLC                                                         Case number (if known)
              Name

          Name and mailing address                                                               On which line in Part1 or Part 2 is the   Last 4 digits of
                                                                                                 related creditor (if any) listed?         account number, if
                                                                                                                                           any
 4.14     Provident Trust Group
          8880 W Sunset Road                                                                     Line   3.38
          Suite 250
                                                                                                        Not listed. Explain
          Las Vegas, NV 89148

 4.15     Provident Trust Group
          8880 W Sunset Road                                                                     Line   3.8
          Suite 250
                                                                                                        Not listed. Explain
          Las Vegas, NV 89148

 4.16     Provident Trust Group
          8880 W Sunset Road                                                                     Line   3.19
          Suite 250
                                                                                                        Not listed. Explain
          Las Vegas, NV 89148

 4.17     Provident Trust Group
          8880 W Sunset Road                                                                     Line   3.11
          Suite 250
                                                                                                        Not listed. Explain
          Las Vegas, NV 89148

 4.18     Provident Trust Group
          8880 W Sunset Road                                                                     Line   3.32
          Suite 250
                                                                                                        Not listed. Explain
          Las Vegas, NV 89148

 4.19     Provident Trust Group
          8880 W Sunset Road                                                                     Line   3.40
          Suite 250
                                                                                                        Not listed. Explain
          Las Vegas, NV 89148

 4.20     Provident Trust Group
          8880 W Sunset Road                                                                     Line   3.2
          Suite 250
                                                                                                        Not listed. Explain
          Las Vegas, NV 89148

 4.21     Provident Trust Group
          8880 W Sunset Road                                                                     Line   3.29
          Suite 250
                                                                                                        Not listed. Explain
          Las Vegas, NV 89148

 4.22     Provident Trust Group
          8880 W Sunset Road                                                                     Line   3.15
          Suite 250
                                                                                                        Not listed. Explain
          Las Vegas, NV 89148

 4.23     Provident Trust Group
          8880 W Sunset Road                                                                     Line   3.42
          Suite 250
                                                                                                        Not listed. Explain
          Las Vegas, NV 89148

 4.24     Provident Trust Group
          8880 W Sunset Road                                                                     Line   3.14
          Suite 250
                                                                                                        Not listed. Explain
          Las Vegas, NV 89148

 4.25     Provident Trust Group
          8880 W Sunset Road                                                                     Line   3.28
          Suite 250
                                                                                                        Not listed. Explain
          Las Vegas, NV 89148




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 10 of 11
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 Debtor       Emporia Property Group, LLC                                                         Case number (if known)
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (if any) listed?             account number, if
                                                                                                                                               any
 4.26      Provident Trust Group
           8880 W Sunset Road                                                                    Line     3.35
           Suite 250
                                                                                                        Not listed. Explain
           Las Vegas, NV 89148

 4.27      Provident Trust Group
           8880 W Sunset Road                                                                    Line     3.3
           Suite 250
                                                                                                        Not listed. Explain
           Las Vegas, NV 89148

 4.28      Provident Trust Group
           8880 W Sunset Road                                                                    Line     3.36
           Suite 250
                                                                                                        Not listed. Explain
           Las Vegas, NV 89148

 4.29      Provident Trust Group
           8880 W Sunset Road                                                                    Line     3.4
           Suite 250
                                                                                                        Not listed. Explain
           Las Vegas, NV 89148

 4.30      Provident Trust Group
           8880 W Sunset Road                                                                    Line     3.31
           Suite 250
                                                                                                        Not listed. Explain
           Las Vegas, NV 89148

 4.31      Provident Trust Group
           8880 W Sunset Road                                                                    Line     3.17
           Suite 250
                                                                                                        Not listed. Explain
           Las Vegas, NV 89148

 4.32      Provident Trust Group
           8880 W Sunset Road                                                                    Line     3.34
           Suite 250
                                                                                                        Not listed. Explain
           Las Vegas, NV 89148

 4.33      Provident Trust Group
           8880 W Sunset Road                                                                    Line     3.24
           Suite 250
                                                                                                        Not listed. Explain
           Las Vegas, NV 89148

 4.34      Provident Trust Group
           8880 W Sunset Road                                                                    Line     3.33
           Suite 250
                                                                                                        Not listed. Explain
           Las Vegas, NV 89148


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                     32,435.82
 5b. Total claims from Part 2                                                                       5b.    +     $                  1,816,212.17

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.          $                    1,848,647.99




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 11 of 11
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                                      Case 19-22155                  Doc# 1        Filed 10/08/19                Page 79 of 116
 Fill in this information to identify the case:

 Debtor name         Emporia Property Group, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1.        State what the contract or                   Property Management
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                Expires 4/30/2020
                                                                                         Allen & O'Hara Development
             List the contract number of any                                             PO Box 771889
                   government contract                                                   Memphis, TN


 2.2.        State what the contract or                   Franchise Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Expires 11/18/2038             Choice Hotels International
                                                                                         1 Choice Hotels Circle
             List the contract number of any                                             Ste 400
                   government contract                                                   Rockville, MD 20850


 2.3.        State what the contract or                   Point of sale system,
             lease is for and the nature of               service agreement and
             the debtor's interest                        merchant processing
                                                          agreement
                  State the term remaining                Expires 9/4/2021
                                                                                         Harbor Touch
             List the contract number of any                                             2202 N Irving St
                   government contract                                                   Allentown, PA 18109


 2.4.        State what the contract or                   Franchise client service
             lease is for and the nature of               agreement
             the debtor's interest

                  State the term remaining
                                                                                         HR Service Group LLC
             List the contract number of any                                             3905 National Drive Ste 400
                   government contract                                                   Burtonsville, MD 20866




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
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                                      Case 19-22155                  Doc# 1     Filed 10/08/19          Page 80 of 116
 Debtor 1 Emporia Property Group, LLC                                                          Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.5.        State what the contract or                   Property Listing
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                Expires 9/30/2019            HREC
                                                                                       6400 South Fiddler's Green Cir
             List the contract number of any                                           Ste 1730
                   government contract                                                 Englewood, CO 80111


 2.6.        State what the contract or                   Equipment Finance
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                Expires 5/15/2020
                                                                                       Marlin Business Bank
             List the contract number of any                                           300 Fellowship Road
                   government contract                                                 Mount Laurel, NJ 08054




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 2 of 2
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                                      Case 19-22155                      Doc# 1   Filed 10/08/19      Page 81 of 116
 Fill in this information to identify the case:

 Debtor name         Emporia Property Group, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      Blue Consulting                   148 Water Hazard Lane                              Choice Hotels                     D
                                               Las Vegas, NV 89148                                International                     E/F       3.12
                                                                                                                                    G




    2.2      Controlled Chaos                  1408 6th St                                        Choice Hotels                     D
             Inc                               Las Vegas, NV 89104                                International                     E/F       3.12
                                                                                                                                    G




    2.3      Daniel Blue                       148 Water Hazard Lane                              Choice Hotels                     D
                                               Las Vegas, NV 89148                                International                     E/F       3.12
                                                                                                                                    G




    2.4      Daryl S. Morris                   1771 Calla Lilly Court                             Choice Hotels                     D
                                               Nolensville, TN 37135                              International                     E/F       3.12
                                                                                                                                    G




    2.5      Gold Enterprise                   10300 Charleston Blvd                              Marlin Business Bank              D   2.69
                                               #13-283                                                                              E/F
                                               Las Vegas, NV 89135
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 3
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 Debtor       Emporia Property Group, LLC                                                    Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Gold Enterprise                   10300 Charleston Blvd                              Pawnee Leasing            D   2.78
                                               #13-283                                            Corporation               E/F
                                               Las Vegas, NV 89135
                                                                                                                            G




    2.7      Gold Enterprise                   10300 Charleston Blvd                              Choice Hotels             D
                                               #13-283                                            International             E/F       3.12
                                               Las Vegas, NV 89135
                                                                                                                            G




    2.8      Hannah Jones                      614 N 650 W American Fork                          Choice Hotels             D
                                               American Fork, UT 84003                            International             E/F       3.12
                                                                                                                            G




    2.9      High Stone Trust                  614 N 650 W                                        Choice Hotels             D
                                               American Fork, UT 84003                            International             E/F       3.12
                                                                                                                            G




    2.10     JFAM                              770 E. Main St #336                                Choice Hotels             D
             Investments, LLC                  Lehi, UT 84083                                     International             E/F       3.12
                                                                                                                            G




    2.11     Lee Jones                         614 N 650 W                                        Morefield Speicher        D
                                               American Fork, UT 84003                            Bachman                   E/F       3.39
                                                                                                                            G




    2.12     Thomas Varga                      10300 Charleston Blvd                              Marlin Business Bank      D   2.69
                                               #13-283                                                                      E/F
                                               Las Vegas, NV 89135
                                                                                                                            G




Official Form 206H                                                            Schedule H: Your Codebtors                              Page 2 of 3
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                                      Case 19-22155                  Doc# 1    Filed 10/08/19       Page 83 of 116
 Debtor       Emporia Property Group, LLC                                                    Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.13     Thomas Varga                      10300 Charleston Blvd                              Pawnee Leasing            D   2.78
                                               #13-283                                            Corporation               E/F
                                               Las Vegas, NV 89135
                                                                                                                            G




    2.14     Thomas Varga                      10300 Charleston Blvd                              Choice Hotels             D
                                               #13-283                                            International             E/F       3.12
                                               Las Vegas, NV 89135
                                                                                                                            G




Official Form 206H                                                            Schedule H: Your Codebtors                              Page 3 of 3
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 Fill in this information to identify the case:

 Debtor name            Emporia Property Group, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        3,050,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           186,648.12

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        3,236,648.12


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        4,557,405.64


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            32,435.82

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,816,212.17


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           6,406,053.63




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Emporia Property Group, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          September 23, 2019                      X /s/ Lee Jones
                                                                       Signature of individual signing on behalf of debtor

                                                                       Lee Jones
                                                                       Printed name

                                                                       Authorized Signer for Emporia Property Group, LLC
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name         Emporia Property Group, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $203,809.00
       From 1/01/2019 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                               $363,635.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                               $201,850.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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 Debtor       Emporia Property Group, LLC                                                               Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               Allen & O'Hara Development                                  6/12/19 -                        $20,720.63           Secured debt
               PO Box 771889                                               $2,687.45                                             Unsecured loan repayments
               Memphis, TN                                                 6/17/19 -                                             Suppliers or vendors
                                                                           $6,000.00
                                                                                                                                 Services
                                                                           7/8/19 -
                                                                           $394.54                                               Other
                                                                           7/9/19 -
                                                                           $8.075.97
                                                                           7/15/19 -
                                                                           $2,098.67
                                                                           7/23/19 -
                                                                           $2,079.30
       3.2.
               Matthew Mills                                               6/10/19                          $28,832.06           Secured debt
               PO Box 771889                                               -$12,906.21                                           Unsecured loan repayments
               Memphis, TN 38177-1889                                      6/12/19 -                                             Suppliers or vendors
                                                                           $3,256.07                                             Services
                                                                           6/18/19 -
                                                                           $4,588.71                                              Other Reimbursements made
                                                                           6/26/19 -                                           for payments incurred on behalf of
                                                                           $607.65                                             the company
                                                                           7/9/19 -
                                                                           $6,248.04
                                                                           7/30/19 -
                                                                           $1,224.68

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.1.    Savant Investments LLC                                      9/25/18 -                        $73,500.00         Finders Fees
               197 E. California Ave #250                                  $33,500.00
               Las Vegas, NV 89104                                         11/1/18 -
               Realted party to Controlled Chaos, Inc.                     $27,800.00
                                                                           11/26/18 -
                                                                           $12,200.00

       4.2.    Daryl S. Morris                                             8/17/18 -                        $15,000.00         Manager Fees
               1771 Calla Lilly Court                                      $2,500.00
               Nolensville, TN 37135                                       9/18/18 -
               Manager                                                     $2,500.00
                                                                           9/21/18 -
                                                                           $2,500.00
                                                                           10/24/18 -
                                                                           $2,500.00
                                                                           12/12/18 -
                                                                           $2,500.00
                                                                           12/28/18 -
                                                                           $2,500.00

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.


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 Debtor       Emporia Property Group, LLC                                                               Case number (if known)



           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Solid Rock Energy Solutions,                      Mechanic's Lien            Lyon County District Court                   Pending
               LLC                                                                          430 Commercial Street                        On appeal
               2019-SL-000003                                                               Emporia, KS 66801
                                                                                                                                         Concluded

       7.2.    Piping Contractors of Kansas,                     Mechanic's Lien            Lyon County District Court                   Pending
               Inc.                                                                         430 Commercial St                            On appeal
               2019-SL-000005                                                               Emporia, KS 66801
                                                                                                                                         Concluded

       7.3.                                                                                                                              Pending
                                                                                                                                         On appeal
                                                                                                                                         Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None




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 Debtor        Emporia Property Group, LLC                                                                  Case number (if known)



       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                   lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates               Total amount or
                 the transfer?                                                                                                                              value
                 Address
       11.1.     Evans & Mullinix, P.A.
                 7225 Renner Road, Suite 200
                 Shawnee, KS 66217                                   Attorney Fees, including filing fee                       8/13/19                 $25,000.00

                 Email or website address
                 cgotham@emlawkc.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers           Total amount or
                                                                                                                         were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                     Date transfer          Total amount or
                Address                                          payments received or debts paid in exchange                was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                     Dates of occupancy
                                                                                                                             From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
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 Debtor        Emporia Property Group, LLC                                                              Case number (if known)



    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred
       18.1.     Emporia Federal Credit Union                    XXXX-0930                   Checking                 7/12/19                              $25.95
                 Emporia, KS 66801                                                           Savings
                                                                                                                      Checking and
                                                                                                                      Savings
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?



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 Debtor      Emporia Property Group, LLC                                                                Case number (if known)



       Facility name and address                                     Names of anyone with                 Description of the contents        Do you still
                                                                     access to it                                                            have it?
       Connex Storage                                                Allen & O'Hara                       Hotel room supplies, vanities,         No
       2700 W. 18th Avenue                                                                                toilets, shower surrounds, etc.        Yes
       Emporia, KS 66801                                                                                  (on proprety but detached
                                                                                                          container)



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                 Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known    Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known    Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None




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 Debtor      Emporia Property Group, LLC                                                                Case number (if known)



    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Peterson Whitaker & Bjork                                                                                                  January 2018 -
                    3140 Harbor Lane Ste 100                                                                                                   current
                    Minneapolis, MN 55447                                                                                                      (bookkeper)
       26a.2.       Street Tax Service                                                                                                         January 2017 -
                    15 W. 5th Ave                                                                                                              December 2017
                    Emporia, KS 66801                                                                                                          (bookkeeper)
       26a.3.       Eide Bailly                                                                                                                Tax year 2017
                    1095 S. 800 E.                                                                                                             (Annual Income Tax)
                    Orem, UT 84097
       26a.4.       My CPA Accounting & Advisory Services                                                                                      Tax year 2018 (on
                    5252 Edgewood Drive Ste 100                                                                                                extension)
                    Provo, UT 84604

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Peterson Whitaker & Bjork                                                                                                  December 2017 -
                    3140 Harbor Lane Ste 100                                                                                                   current
                    Minneapolis, MN 55447

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Peterson Whitaker & Bjork
                    3140 Harbor Lane Ste 100
                    Minneapolis, MN 55447
       26c.2.       Vigilant Management, Inc.                                                                Consolidated general ledger records for
                    770 E. Main St #336                                                                      compliing property manager or bookkeeper
                    Lehi, UT 84043                                                                           reports for annual income tax filings
       26c.3.       Street Tax Service                                                                       Books & records January 2017 - December 2017
                    15 W. 5th Ave
                    Emporia, KS 66801
       26c.4.       CUSA Hospitality & Property Management                                                   Books & records August 2016 - December 2016
                    300 Ridenour Blvd #200
                    Kennesaw, GA 30152
       26c.5.       Gold Enterprises, LLC d/b/a                                                              LLC Manager and primary operator May 2016 -
                    US Multifamily Properties                                                                May 2018
                    Tom Varga
                    10300 Charleston Blvd ##13-382
                    Las Vegas, NV 89135
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    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       HREC Investment Advisors
                    222 W. Gregory Blvd Ste 219
                    Kansas City, MO 64114
       26d.2.       Valbridge Property Advisors
                    10990 Quivira Road Ste 100
                    Overland Park, KS 66210
       26d.3.       JFAM Investments LLC
                    770 E. Main St #336
                    Lehi, UT 84043
       26d.4.       Controlled Chaos, Inc.
                    197 E. California Ave #250
                    Las Vegas, NV 89104
       26d.5.       Blue Consulting LLC
                    197 E. California Avenue #250
                    Las Vegas, NV 89104
       26d.6.       Gold Enterprises LLC
                    10300 Charleston Blvd #13-382
                    Las Vegas, NV 89125
       26d.7.       Daryl Morris
                    1711 Calla Lilly Court
                    Nolensville, TN 37135

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory
       27.1 Matt Mills
       .                                                                                    8/1/19                   $4,862.84 cost basis - Kitchen/Food

                Name and address of the person who has possession of
                inventory records
                Matt Mills
                PO Box 771889
                Memphis, TN 38177-1889


       27.2 Matt Mills
       .                                                                                    8/1/19                   $3,201.90 cost basis - Lounge

                Name and address of the person who has possession of
                inventory records
                Matt Mills
                PO Box 771889
                Memphis, TN 38177-1889


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.
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 Debtor      Emporia Property Group, LLC                                                                Case number (if known)




       Name                                           Address                                             Position and nature of any       % of interest, if
                                                                                                          interest                         any
       Daryl S. Morris                                1711 Calla Lilly Ct                                 Managing Member                  15%
                                                      Nolensville, TN 37135

       Name                                           Address                                             Position and nature of any       % of interest, if
                                                                                                          interest                         any
       JFAM Investments LLC                           770 E. Main St #336                                 Member                           37.5%
                                                      Lehi, UT 84043

       Name                                           Address                                             Position and nature of any       % of interest, if
                                                                                                          interest                         any
       Controlled Chaos, Inc.                         197 E. California Ave #250                          Member                           32.5%
                                                      Las Vegas, NV 89104

       Name                                           Address                                             Position and nature of any       % of interest, if
                                                                                                          interest                         any
       Gold Enterprises LLC                           10300 Charleston Blvd #13-382                       Member (Former Manager)          10%
                                                      Las Vegas, NV 89125

       Name                                           Address                                             Position and nature of any       % of interest, if
                                                                                                          interest                         any
       Blue Consulting, LLC                           197 E. California Ave #250                          Member                           5%
                                                      Las Vegas, NV 89104

       Name                                           Address                                             Position and nature of any       % of interest, if
                                                                                                          interest                         any
       Allen & O'Hara Development                     PO Box 771889                                       3rd Party Property Manager       0%
                                                      Memphis, TN



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates         Reason for
                                                                 property                                                              providing the value
       30.1 Savant Investments LLC                               $33,500.00                                              9/25/18
       .    197 E. California Ave #250                           $27,800.00                                              11/1/18
               Las Vegas, NV 89104                               $12,200.00                                              11/26/18      Lender finder fees

               Relationship to debtor
               Affiliate of Member




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 9
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 Debtor       Emporia Property Group, LLC                                                               Case number (if known)



               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.2 JFAM Investments LLC
       .    770 E. Main St #336                                                                                                            Return of wire sent
               Lehi, UT 84043                                    $5,000.00                                               1/24/19           in error

               Relationship to debtor
               Member


       30.3                                                      8/7/18                                                  $2,500.00
       .                                                         9/18/18                                                 $2,500.00
                                                                 9/21/18                                                 $2,500.00
               Daryl S. Morris                                   10/24/18                                                $2,500.00
               1771 Calla Lilly Court                            12/12/18                                                $2,500.00
               Nolensville, TN 37135                             12/28/18                                                $2,500.00         Management Fees

               Relationship to debtor
               Manager


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         September 23, 2019

 /s/ Lee Jones                                                          Lee Jones
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Authorized Signer for Emporia Property
                                            Group, LLC

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 10
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                        District of Kansas
 In re       Emporia Property Group, LLC                                                                      Case No.
                                                                               Debtor(s)                      Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                      Hourly
             Prior to the filing of this statement I have received                                        $                 23,283.00
             Balance Due subject to Court approval                                                        $                  Unknown

2.     $    1,717.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:
                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:
                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or any other
               adversary proceedings, reaffirmations and redemptions.
                                                                         CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     9/23/19                                                                   /s/ Colin N. Gotham
     Date                                                                      Colin Gotham KS#19538; MO#52343
                                                                               Signature of Attorney
                                                                               Evans & Mullinix, P.A.
                                                                               7225 Renner Road, Suite 200
                                                                               Shawnee, KS 66217
                                                                               (913) 962-8700 Fax: (913) 962-8701
                                                                               cgotham@emlawkc.com
                                                                               Name of law firm




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            Alan M. Nolan
            4135 High Prairie Road
            Valley Mills TX 76689


            Allen & O'Hara Development
            PO Box 771889
            Memphis TN


            Amanda Day
            14 Liberty Ln #75
            South Portland ME 04106


            American Estate & Trust
            6900 Westcliff Drive
            Ste 603
            Las Vegas NV 89145


            Andrea Brooks-Tucker
            3367 John Hancock Drive
            Tallahassee FL 32312


            Andrea Crews
            3021 NE 104th Terrace
            Silver Springs FL 34488


            Andrew Soon-Foong
            45 SW 21st Rd
            Miami FL 33129


            Anne Ciota
            93A Ayer Rd
            Harvard MA 01451


            Anthony E Bozzi
            12012 Sugarland Valley Dr.
            Herndon VA 20170


            Arleen Espiritu
            19W736 13th Place
            Lombard IL 60148


            Arlene Kendig
            7445 O'Hara Street
            Huntersville NC 28078


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        Athena Mills
        5788 Knoll Crest Court
        Boulder CO 80301


        Azure Rock LLC
        7445 O'Hara Street
        Huntersville NC 28078


        Azure Rock LLC
        7445 'Ohara Street
        Huntersville NC 28078


        Barbara Benjamin
        100 Alden Street #322
        Provincetown MA 02657


        Barbara Benjamin &
        Susan Deaver
        100 Alden Street #322
        Provincetown MA 02657


        Barbara Wilson
        20201 Runnymede Street
        Winnetka CA 91306


        Blue Consulting
        148 Water Hazard Lane
        Las Vegas NV 89148


        Bradley Childers
        19231 N Miller Way
        Maricopa AZ 85139


        Brenda A. Hurley
        3312 N Arcadia Street
        Colorado Springs CO 80907


        Brenda Evans
        716 Jamestown Ln
        Gardendale AL 35071


        Bruce Barnes
        13235 SE 261st Street
        Kent WA 98042


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        Carol Proctor
        100 Alden Street #322
        Provincetown MA 02657


        Catherine Osborn
        8334 State Road
        Colden NY 14033


        Celine L Agostini
        20011 Cutler Court
        Cutler Bay FL 33189


        Cheryl Morris
        2234 W. Taylor St. Apt. 3F
        Chicago IL 60612


        Choice Hotels International
        1 Choice Hotels Circle
        Suite 400
        Rockville MD 20850


        Choice Hotels International
        1 Choice Hotels Circle
        Ste 400
        Rockville MD 20850


        Christa Bourg
        9428 Setting Moon Court
        Colorado Springs CO 80925


        Christina N Norton
        12 Westgate Lane
        Troy MO 63379


        Constance Barnes
        5632 Crestwood Court
        Frederick MD 21703


        Controlled Chaos Inc
        1408 6th St
        Las Vegas NV 89104


        Courtesy Products
        PO Box 840020
        Kansas City MO 64184

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        Dan P. Kelly
        1050 Maple St #1903
        Wenatchee WA 98807


        Daniel Blue
        148 Water Hazard Lane
        Las Vegas NV 89148


        Daniel M Anderson
        4112 W Southwood Drive
        Franklin WI 53132


        Darrell Fannin
        1285 Campbell Lane
        Hoffman Estates IL 60169


        Daryl S. Morris
        1771 Calla Lilly Court
        Nolensville TN 37135


        David Bon
        14501 E. Crestline Dr
        Aptl 203
        Aurora CO 80015


        David Flores
        9402 Claridge Drive
        Houston TX 77031


        David L Moerke
        3960 S Lipton Ave
        Saint Francis WI 53235


        David Norton
        323 Mason Glen Drive
        Lake Saint Louis MO 63367


        Debra Bassett
        9292 SW County Road 14
        Madison FL 32340


        Dennis Winson
        9405 Blackwell Road, Unit 411
        Rockville MD 20850


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        Diamond D Innovation
        107 Iowa Street
        Alma KS 66401


        Dolores Kienzle
        104 Kensington Place
        Saint Charles IL 60175


        Donald Melfe
        44 Taft Avenue
        Newburgh NY 12550


        Edward J. Stevens
        14181 E. Baltic Place
        Aurora CO 80014


        Edward Nelson
        1008 Santa Helena Avenue
        Henderson NV 89002


        Eileen McKenna
        30 B Street
        Saint Paul MN 55106


        Elaine Russell
        54 Stockton Place
        East Orange NJ 07017


        Erika Madeiros
        33 High Street
        North Attleborough MA 01701


        Eva Childress
        5049 Silver Lake Drive
        Plano TX 75093


        Forrest Larue
        1069 African Eagle Ave
        Henderson NV 89015


        Gail A. Christensen
        1017 S 22nd Street
        Omaha NE 68108



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        Gary Kendig
        7445 O'Hara Street
        Huntersville NC 28078


        Gavin Monaghan
        290 Bostock Road
        Shokan NY 12481


        Gene Parker
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        Queen Creek AZ 85143


        George Tuhowski iii
        745 Suffolk Court
        Hoffman Estates IL 60192


        Gold Enterprise
        10300 Charleston Blvd
        #13-283
        Las Vegas NV 89135


        Golden Malted
        PO Box   129
        Concordville PA 19331


        Guest Supply
        PO Box 6771
        Somerset NJ 08875


        Hannah Jones
        614 N 650 W American Fork
        American Fork UT 84003


        Harbor Touch
        2202 N Irving St
        Allentown PA 18109


        High Stone Trust
        614 N 650 W
        American Fork UT 84003


        HR Service Group LLC
        3905 National Drive Ste 400
        Burtonsville MD 20866


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        HREC
        6400 South Fiddler's Green Cir
        Ste 1730
        Englewood CO 80111


        James Estep
        P.O Box 54
        Black Diamond WA 98010


        James Preslar
        19666 Blossom Ln
        Grosse Pointe Woods MI 48236


        James Sargent
        1260 Military West
        Benicia CA 94510


        James Vail
        57095 Venus Place
        Clark CO 80428


        Janet D Niederman
        1818 Pelham Avenue #306
        Los Angeles CA 90025


        Jeff Naramor
        914 Wooded Lane
        Marshall MI 49068


        Jesse Fuentes
        2136 Hazlitt Drive
        Houston TX 77032


        JFAM Investments, LLC
        770 E. Main St #336
        Lehi UT 84083


        Joan Walker
        6719 Bruce Road
        Celina OH 45822


        JoAnn Hill
        91 Shaw Dr.
        Esudilla Bonita Acres
        Quemado NM 87829

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        John Barry Gipson
        1848 County Road 928
        Brookland AR 72417


        John Dally
        129 Oakmont Drive
        Mays Landing NJ 08330


        John Emde
        261 Raintree Rd
        Virginia Beach VA 23452


        John Schremp
        3536 Muller Drive
        Zephyr Hills FL 33540


        Jon J Hoke
        12931 S. Stubbs Rd
        Overbrook KS 66524


        Jose Adorno-Garay
        2550 Grand Lakeside Dr
        Palm Harbor FL 34684


        Judith A McIntosh
        9300 Coit Rd Apt 1214
        Plano TX 75025


        Judyth Kaplan - Levitt
        43 Higgins Rd
        Framingham MA 01701


        Julie A Handberg
        6075 Lincoln Drive #306
        Minneapolis MN 55436


        Julie A. Speed
        2605 278th Street E
        Spanaway WA 98387


        Julie Frank
        11863 W. 56th Circle
        Arvada CO 80002



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        Julio Henao
        1127 Eldridge Parkway
        Ste 300-116
        Houston TX 77077


        Kansas Department of Revenue
        Civil Tax Enforcement
        PO Box 12005
        Topeka KS 66612-2005


        Kansas Department of Revenue
        7600A W. 119th St
        Overland Park KS 66210


        Kansas Dept of Administration
        Attn Director of Acct & Report
        Landon State Ofc Bldg Rm 351S
        900 SW Jackson
        Topeka KS 66612


        Karen Rinker
        PO Box 95
        Page AZ 86040


        Kenneth Miller
        6650 S. Beach Drive
        Alanson MI 49706


        Kenneth Thall
        777 S. Federal Hwy # G215
        Pompano Beach FL 33062


        Kevin Landry
        8485 Westwind Rd
        Las Vegas NV 89139


        Kim Peterson
        20 5th St NW #101
        Waukon IA 52172


        Kristen Mowafy
        1204 Ortman Road
        Marquette MI 49855




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        Laurie A Malone
        1825 Windsor Blvd
        Homewood AL 35209


        Laurie M Anderson
        4112 W Southwood Drive
        Franklin WI 53132


        Lee Childers
        317 Copperhead Lane
        Alvarado TX 76009


        Lee Jones
        614 N 650 W
        American Fork UT 84003


        Lenore Matley
        76 N Manila Avenue
        Clovis CA 93612


        Lorretta Miller
        602 avon st
        Flint MI 48503


        Lyn Adams
        492 Big Sky Drive
        Oceanside CA 92058


        Lynn Wiese
        40680 N 3985 Road
        Collinsville OK 74021


        Lyon County Kansas
        430 Commercial St
        Emporia KS 66801


        Mandy Green
        25 N. University Street
        Vermillion SD 57069


        Maria D Herring
        1605 Abaco Drive Apt D3
        Coconut Creek FL 33066



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        Marilyn Golden
        3821 Zinnia Rd
        Diana TX 75640


        Marjory Meyer
        119 13th Avenue NE
        Oelwein IA 52001


        Mark V. Kelley
        3513A Stanolind Avenue
        Midland TX 79707


        Marlin Business Bank
        300 Fellowship Road
        Mount Laurel NJ 08054


        Marta Romano
        2237 La Mark Avenue
        Las Vegas NV 89106


        Mary Beth Howard
        1409 Bardwell W Road
        Williamsburg OH 45176


        Mary Eliza Burton
        17300 Wedgewood Drive
        Lanexa VA 23089


        Mary Gregory
        4470 Putnam Street
        Marianna FL 32446


        Michael Phillips
        2278 Washington Drive
        Northbrook IL 60062


        Morefield Speicher Bachman
        11814 W 135th St,
        Overland Park KS 66221


        Pamela Banderman
        5 Nailbender Ln.
        Sullivan MO 63080



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        Pamela Scherger
        116 Grey Mill Court
        Rocky Mountain NC 27804


        Patricia K DeLuca
        3 Stagecoach Rd
        Windsor CT 06095


        Patricia L Byrd
        749 Deer Lick Road
        Lewisburg KY 42256


        Patricia W. Wittig
        4922 Paradise Lake Circle
        Hoover AL 35244


        Pawnee Leasing Corporation
        3801 Automation Way
        Ste 207
        Fort Collins CO 80525


        Peggy Schremp
        3536 Muller Drive
        Zephyr Hills FL 33540


        Piping Contractors of Kansas
        d/b/a PCI Mechanical Services
        115 S Jackson
        Topeka KS 66603


        Provident Trust Group
        8880 W Sunset Road
        Suite 250
        Las Vegas NV 89148


        Reed Thomas
        159 County Rd 233
        Lyman WY 82937


        Reynold Johnson
        1415 Millennial Lane
        Lawrenceville GA 30045




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        Rhonda Nolda
        129 N Elder Ave
        North Platte NE 69101


        Rick Dixon
        1090 Lowell Drive
        Oconomowoc WI 53066


        Robert Carnesi
        14506 Vista Del Lago Blvd
        Winter Garden FL 34787


        Robert Danforth
        9836 Masterpiece Drive
        Las Vegas NV 89148


        Robert L. Smith Jr.
        6533 West Ave L10
        Lancaster CA 93536


        Robin Tadlock
        107 W Holt Street
        Sanger TX 76266


        Roger Kubischta
        1107 Lane Terrace
        The Villages FL 32163


        Ronald Boswell
        105 Bennington Court
        Charlottesville VA 22901


        Ronald Srajer
        9850 Garfield Ave Spc 107
        Huntington Beach CA 92646


        Rossanna Macdougall
        4884 Doyle Road
        San Jose CA 95129


        Rudy Castellanos
        4911 Randolph Street
        Maywood CA 90270



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        Sayeed Patel
        9205 Amber Downs Drive
        McKinney TX 75070


        Scott Telle
        1856 Lewisham Way
        Virginia Beach VA 34945


        Sheila Heward
        37 Kirkpatrick Lane
        Bella Vista AR 72715


        Sherry Bartz
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        Commerce City CO 80640


        Solid Rock Energy Solutions
        2250 N Rock Road Ste 118-261
        Wichita KS 67226


        Stephanie Kennedy
        208 S. Pierce St
        Adams WI 53910


        Stephen Kessman
        23 Deer Park Road
        Danbury CT 12563


        Stephen R Lochelt
        439 Quail Court
        Fillmore CA 93015


        Steven Hilliard
        7 Wales Ct
        O Fallon MO 63366


        Steven Rothman
        107 Willamette Way
        Dayton NV 89403


        Susan Danielson
        401 Crimson Lane
        Plymouth IN 46563



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        Suzanne Still
        1672 LOT 2 COUNTY RD 81
        BLUE MOUNTAIN MS 38610


        Tammie Tipton
        8760 Ravenglass Way
        Montgomery Village MD 21075


        Terry Osborne
        1631 Kent Church Road
        Brooklyn IA 52211


        Thomas Roffino
        2811 Poteet Drive
        Mesquite TX 75150


        Thomas Varga
        10300 Charleston Blvd
        #13-283
        Las Vegas NV 89135


        Timothy Sweeney
        8003 Moss Grove Place
        Fort Wayne IN 46825


        Tony Wallace
        8914 Kathlyn Drive
        St. Louis MO 63134


        Tracy Bridges
        164 Knotty Oak Road
        Coventry RI 02816


        Walter Blumenfeld
        300 E. 85th St Apt PH3
        New York NY 10028


        William Frederickson
        3415 20th Street Court
        Rock Island IL 61201


        William Penn
        2604 Brighton Drive
        Flower Mound TX 75028


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        Wossenyelesh Million
        227 Chestnut Ct.
        San Ramon CA 94583




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                                                               United States Bankruptcy Court
                                                                         District of Kansas
 In re      Emporia Property Group, LLC                                                                    Case No.
                                                                                  Debtor(s)                Chapter     11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Authorized Signer for Emporia Property Group, LLC of the corporation named as the debtor in this case, hereby verify that the

attached list of creditors is true and correct to the best of my knowledge.




 Date:       September 23, 2019                                        /s/ Lee Jones
                                                                       Lee Jones/Authorized Signer for Emporia Property Group, LLC
                                                                       Signer/Title




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                                                               United States Bankruptcy Court
                                                                           District of Kansas
 In re      Emporia Property Group, LLC                                                                               Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Blue Consulting, LLC                                                Common           5%                                         LLC Membership interest
 197 E. California Ave #250
 Las Vegas, NV 89104

 Controlled Chaos, Inc.                                              Common           32.5%                                      LLC Membership interest
 197 E. California Ave #250
 Las Vegas, NV 89104

 Daryl S. Morris                                                     Common           15%                                        LLC Membership Interest
 1711 Calla Lilly Court
 Nolensville, TN 37135

 Gold Enterprises LLC                                                Common           10%                                        LLC Membership interest
 10300 Charleston Blvd #13-382
 Las Vegas, NV 89125

 JFAM Investments LLC                                                Common           37.5%                                      LLC Membership Interest
 770 E. Main St #336
 Lehi, UT 84043


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Authorized Signer for Emporia Property Group, LLC of the corporation named as the debtor in this case, declare
under penalty of perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the
best of my information and belief.



 Date September 23, 2019                                                      Signature /s/ Lee Jones
                                                                                            Lee Jones

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                          District of Kansas
 In re      Emporia Property Group, LLC                                                                   Case No.
                                                                                  Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Emporia Property Group, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Controlled Chaos, Inc.
 197 E. California Ave #250
 Las Vegas, NV 89104
 Gold Enterprises LLC
 10300 Charleston Blvd #13-382
 Las Vegas, NV 89125
 JFAM Investments LLC
 770 E. Main St #336
 Lehi, UT 84043




    None [Check if applicable]




 September 23, 2019                                                   /s/ Colin Gotham
 Date                                                                 Colin Gotham KS#19538; MO#52343
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for Emporia Property Group, LLC
                                                                      Evans & Mullinix, P.A.
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